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            Exhibit 61
                                                                                                                                                                                                                                      Case 1:19-cv-08655-LGS Document 252-36 Filed 11/23/22 Page 2 of 2




               person_id    user_nam e   is_rating_eli is_prom o_eli is_nom inate is_self_nom i self_nom ination_notes   m anager_no m anager_nom ination_notes   m anager_no is_prom oted prom otion_r prom otion_notes   prom otion_j prom otion_j prom otion_j rating_bucke action_plan_t action_plan_t calibration_notes                                                                                                                                                  is_appealed appeal_ratio is_m anager pm r_score_ report_resp overallScore actionableFe careerConv collaborates com m unicat focusedOnP providesAut recom m end sharesInfor show sConsi stretchOppo technicalExp toughDecisi valuesPersp
                                         gible         gible_calcula d_for_prom o nated                                  m ination_de                             m ination_typ            ecom m endat                    ob_level     ob_title     ob_code      t            ext           ype                                                                                                                                                                                          nale                     calculated  onse_count               edback       ersations               esClearly    riorities  onom y      Manager     m ation     deration    rtunities   ertise       ons         ective
period_nam e                                           ted           tion                                                cision                                   e                        ion
                                                                                                                                                                                                                                                                                                           <p>Role and Project over last 6 months: OCTO TD, moved from specialist role in FinSrv to more generalist<br><br>Impact over last 6 months [1-4 major
                                                                                                                                                                                                                                                                                                           accomplishments]:<br>1.) Exceeds: Her 1:many contributions significant, even by OCTO standards; she gives our outreach to markets w rt FinSrv deep
                                                                                                                                                                                                                                                                                                           credibility and interest<br>2.) Exceeds: She partners extremely w ell w ith the FinSrv pod in NYC, leading to citations for progress at
                                                                                                                                                                                                                                                                                                                  <br>3.) Meets: Good engagement generally across FinSrv and Regulatory organizations<br>4.) Meets: Some progress w ith key partners:
                                                                                                                                                                                                                                                                                                                                         <br><br>Support of hiring initiatives (interview ing, hiring committee, facilitation of interview training, champion calls,
                                                                                                                                                                                                                                                                                                           etc)<br>One of my go-to screens for leadership</p><p><br>One thing to improve for next rating/level:<br>1.) PM/Eng impact.&#160; To date, very little
               REDACTED -                                                                                                                                                                                                                                          Exceeds                                 engagement and/or aw areness w ith product teams outside Leonard Law </p><p>2.) How do you create more demand for yourself?&#160; What's the
2018 Q1        PRIVACY    urow e         1            1             0            0             null                      null        null                         null        0            null         null               null         null         null          Expectations   null        null         leadership moment?&#160; Don't w ait to be asked.&#160;&#160;<br><br></p>                                                                                           0          null        0           null        null         null        null        null        null        null         null        null        null        null        null         null        null        null        null
                                                                                                                                                                                                                                                                                                           Role and Project over last 6 months: OCTO TD, People Manager for Applied AI OCTOs<br><br>Impact over last 6 months [1-4 major
                                                                                                                                                                                                                                                                                                           accomplishments]:<br>1.) Championed and landed a <b>notebook-first</b> approach for applied AI w ithin enterprises, now a 2019 OKR for Cloud AI PM
                                                                                                                                                                                                                                                                                                           team<div>2.) Championed&nbsp;<b>experiments</b>&nbsp;as the framew ork for OCTO AI w ork w ith customers<br>3.) Invited
                                                                                                                                                                                                                                                                                                           AI&nbsp;<b>keynotes</b>&nbsp;to Lendit Fintech (1500),                    CEOs (300), JDA (2000), CogX (7000), Next Community (200), Next Leaders Circle
                                                                                                                                                                                                                                                                                                           (200) plus numerous briefings<br><br>Rating - w hy not higher    tor 17
                                                                                                                                                                                                                                                                                                                                                                                 or low er?:&nbsp; Team dev vs. IC holding back clear SEE, flagged for further calibration
                                                                                                                                                                                                                                                                                                           input.&nbsp; Also, no clear "OCTO premier brand" landing/sustained contributions.<br><br>Support of hiring initiatives (interview ing, hiring committee,
                                                                                                                                                                                                                                                                                                           facilitation of interview training, champion calls, etc):<br></div><div>9 interview s<br><br>One thing to improve for next rating/level:<br>1.)&nbsp; More
                                                                                                                                                                                                                                                                                                           focus on team development, avoid silo-ing AI team members.&nbsp; Big things are done w ell, small things need tightening up.&nbsp; Missing 1:1s, flaky
                                                                                                                                                                                                                                                                                                           attendance, not taking leadership w ith Fei Fei staff, he's TL'ing and he's coaching w ell.&nbsp; Premier customers missing.&nbsp; 60% customer impact
                                                                                                                                                                                                                                                                                                           is the role.</div><div><br>[For People Managers]<br>PMR score: 96, increase of 8 points from H12018, 6 of 7 eligible DRs
               REDACTED -                                                                                                                                                                                                                                          Exceeds                                 reporting<br>Strength(s):&nbsp; Inspiring vision, technical acumen, idea machine<br>Development Area(s):&nbsp; nothing extreme from PMR, feedback
2018 Q3        PRIVACY      Comparator 17 1           1             0            0             null                      null        null                         null        0            null         null               null         null         null          Expectations   null        null         and career coaching for direct reports has been a prior theme<br><br><br></div>                                                                                     0          null        1           96          6            96          83          83          83          100          100         100         100         100         100          100         100         100         100
                                                                                                                                                                                                                                                                                                           <p>Role and Project over last 6 months: OCTO TD for FinSrv</p><p>Impact over last 6 months [1-4 major accomplishments]:</p><ol><li> Quickly
                                                                                                                                                                                                                                                                                                           established thought leadership on Cloud and Financial services, earning critical impact ratings from Sales, Product and Marketing [meets]</li><li> 1:1
                                                                                                                                                                                                                                                                                                           engagement, w ith heavy influence and trusted advisor status at <span>                                                        [meets]</span></li><li>1:many thought
                                                                                                                                                                                                                                                                                                           leadership, including large sessions at <span>                                                                                         , and keynotes at leader's
                                                                                                                                                                                                                                                                                                           circle in numerous locations. [meets]</span></li><li>Took on a leadership role for regulatory w ork w ith european financial services regulators
               REDACTED -                                                                                                                                                                                                                                          Exceeds                                 [exceeds]</li></ol><p></p><p>[Optional Promo Rationale]:</p>One thing to improve for next rating/level:<ul><li>More engagement w ith Product and
2017 Q3        PRIVACY    urow e         1            1             0            0             null                      null        null                         null        0            null         null               null         null         null          Expectations   null        null         Engineering, utilizing Leonard as a key partner in that effort.</li></ul>                                                                                           0          null        0           null        null         null        null        null        null        null         null        null        null        null        null         null        null        null        null

                                                                                                                                                                                                                                                                                                           <p>Role and Project over last 6 months: OCTO TD focused on AI, built small AI pod in OCTO<br><br>Impact over last 6 months [1-4 major
                                                                                                                                                                                                                                                                                                           accomplishments]:<br>1.)&#160; Exceeds: Recruited and hired some of the industry's top talent (          R&amp;D lead, Intuit head of AI and Data
                                                                                                                                                                                                                                                                                                           Science, Teradata head of Data Science and AI)<br>2.)&#160; Exceeds: At last minute, w ent to JAPAC to support DG P0 engagements at the board
                                                                                                                                                                                                                                                                                                           level w ith          and     , received extraordinary feedback from field teams, stayed engaged and is now a key member of the                   sw arm
                                                                                                                                                                                                                                                                                                           team.&#160; Landed an initial AI deal at          (a key door opener)<br>3.)&#160; Meets:&#160; building strong relationship w ith Cloud ML PM,
                                                                                                                                                                                                                                                                                                           integrated strategy and planning w ith Brain, DeepMind, Cloud PM, PSO.&#160; Currently w orking multiple initiatives to gather customer feedback (field
                                                                                                                                                                                                                                                                                                           notes) and
                                                                                                                                                                                                                                                                                                                   .<br>4.)&#160; Meets:&#160; became a highly demanded AI spokesperson for the field, and took a lot of time to start cross training all of OCTO to
                                                                                                                                                                                                                                                                                                           be AI spokespeople, as w ell.&#160;&#160;<br><br>Support of hiring initiatives (interview ing, hiring committee, facilitation of interview training, champion
                                                                                                                                                                                                                                                                                                           calls, etc)</p><p>Most active interview er in OCTO outside of me and Solomon.&#160;&#160;<br><br>One thing to improve for next
               REDACTED -                                                                                                                                                                                                                                          Exceeds                                 rating/level:<br>1.)&#160;        has a couple projects in flight that he needs to drive to conclusion (
2018 Q1        PRIVACY      Comparator 17 1           1             0            0             null                      null        null                         null        0            null         null               null         null         null          Expectations   null        null                              ) and continue to dedicate the time to leadership/management for his noogler team.&#160;&#160;</p><p><br></p>                            0                null        1           88          3            88          33          null        100         100          67          100         100         67          null         100         100         100         100
                                                                                                                                                                                                                                                                                                           <div>[NEED VERTICAL FEEDBACK]</div><div><br></div>Role description (50 w ords): Spent half of the period in vertical team, half in octo.&nbsp;
                                                                                                                                                                                                                                                                                                           Spends most time representing Google externally and w ith financial services clients<br><br>Key accomplishments w ith data, metrics - the “w hat” (200
                                                                                                                                                                                                                                                                                                           w ords, get input from the Googler if needed, be specific, reference KRs w hen applicable):<br>Obj: Team (how did the OCTO make OCTO and Cloud
                                                                                                                                                                                                                                                                                                           better?)<div>-Hiring: key interview er, and coach for candidates<br><div><div>Obj: Co-innovation (how did the OCTO make a material difference w ith
                                                                                                                                                                                                                                                                                                           strategic brands either as sw armer or primary?)</div><div>-BNY Mellon CEC<br>Obj: Market shaping (how did the OCTO engage w ith the market to
                                                                                                                                                                                                                                                                                                           share ideas and opinions?)&nbsp;</div><div>-blog on libra</div><div>-podiums: retail vision 2019 (peer bonus)<br>Obj: Product Strategy (how did the
                                                                                                                                                                                                                                                                                                           OCTO contribute to our Google product strategy?)</div><div>-<br><br>Critical behaviors that helped the Googler deliver effectively - the
               REDACTED -                                                                                                                                                                                                                                          Exceeds                                 “how ”:&nbsp;</div><div>-inspires follow ership</div><div><br>Why not higher: no discernible product, large co-innovation brand, team
2019 Q3        PRIVACY    urow e         1            1             0            0             null                      null        null                         null        0            null         null               null         null         null          Expectations   null        null         impact</div><div>Why not low er: very important contributions to external thought leadership&nbsp;&nbsp;<br><br><br><br></div></div></div>                    0                null        0           null        null         null        null        null        null        null         null        null        null        null        null         null        null        null        null
